
717 S.E.2d 370 (2011)
In the Matter of P.D.R., L.S.R., J.K.R., Minor Children.
No. 283PA11.
Supreme Court of North Carolina.
August 25, 2011.
Rick Croutharmel, for Reaves, Cherry.
Kathleen Widleski, for Mecklenburg County.
Pamela Newell, GAL, for P.D.R., et al.

ORDER
Upon consideration of the conditional petition filed on the 19th of July 2011 by Respondent-Mother in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 25th of August 2011."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
